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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

Ben Garrison,                                        )
                                                     )
       Plaintiff,                                    )
                                                     )       NOTICE
vs.                                                  )       Civil Action No. 3:20CV00040
                                                     )
Anti-Defamation League,                              )
                                                     )
       Defendant.                                    )

To:    Steven Biss

        Rule 4(m) of the Federal Rules of Civil Procedure states "If a defendant is not served
within 90 days after the complaint is filed, the court – on motion or on its own notice to the
plaintiff – must dismiss the action without prejudice against that defendant or order that service
be made within a specified time. But if the plaintiff shows good cause for the failure, the court
must extend the time for service for an appropriate period. This subdivision (m) does not apply
to service in a foreign country under Rule 4(f) or 4(j)(l) or to service of a notice under Rule
71.1(d)(3)(A).”

       Pursuant to that rule, you are hereby given notice that the Court's record reflects that your
complaint was filed on July 10, 2020 and as of this date, service has not been executed on
defendant(s), Anit-Defamation League.

        You have until October 8, 2020 to notify the Clerk of this Court that service has been
accomplished on said defendant(s). Otherwise, the named defendant(s) will be dismissed from
the suit without prejudice by Order of this Court.

                                                     JULIA C. DUDLEY, CLERK

                                                     By:     s/H. Wheeler
                                                             Deputy Clerk
